      Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 1 of 17




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

     DANISHA HENRY,                                §
                                                   §           CIVIL ACTION NO.:
             Plaintiff,                            §
                                                   §
     v.                                            §                        ____________
                                                   §
     THE PROGRESSIVE                               §
     CORPORATION AKA                               §           Removed from the District
     PROGRESSIVE GROUP OF                          §           Court of Harris County, Texas;
     INSURANCE COMPANIES AKA                       §           333rd Judicial District, Cause
     PROGRESSIVE CASUALTY INS. CO                  §           No. 2020-75641
     AKA PROGRESSIVE CASUALTY                      §
     INS. CO.,                                     §
                                                   §
             Defendant.                            §


                                              EXHIBIT A

                               (All executed process in the state action)

1.        Affidavit of Service of Citation;
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EXHIBIT A-1
 Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 3 of 17

                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   12/09/2020
                                                                                                   CT Log Number 538719264
TO:         James E. Matoh
            Progressive Casualty Insurance Company
            6055 Parkland Blvd
            Mayfield Heights, OH 44124-6105

RE:         Process Served in Ohio

FOR:        The Progressive Corporation (Domestic State: OH)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 DANISHA HENRY, Pltf. vs. THE PROGRESSIVE CORPORATION, etc., Dft.
DOCUMENT(S) SERVED:                              Citation, Petition, Attachment
COURT/AGENCY:                                    Harris County District Court, TX
                                                 Case # 202075641
NATURE OF ACTION:                                Insurance Litigation
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Columbus, OH
DATE AND HOUR OF SERVICE:                        By Certified Mail on 12/09/2020 postmarked on 12/01/2020
JURISDICTION SERVED :                            Ohio
APPEARANCE OR ANSWER DUE:                        By 10:00 a.m. on the Monday next following the expiration of 20 days
ATTORNEY(S) / SENDER(S):                         Lucy Nkechinyelumka "Kechi" Chukwurah
                                                 NLC LAW GROUP, PLLC
                                                 5151 Katy Freeway, Suite 306
                                                 Houston, TX 77007
                                                 832-917-6008
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 12/09/2020, Expected Purge Date:
                                                 12/14/2020

                                                 Image SOP

                                                 Email Notification, Regina Smith Regina_Smith@Progressive.com

                                                 Email Notification, James E. Matoh JMatoh@progressive.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 4400 Easton Commons Way
                                                 Suite 125
                                                 Columbus, OH 43219
                                                 800-448-5350
                                                 MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / KS
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    12/09/2020
                                                                                                    CT Log Number 538719264
TO:         James E. Matoh
            Progressive Casualty Insurance Company
            6055 Parkland Blvd
            Mayfield Heights, OH 44124-6105

RE:         Process Served in Ohio

FOR:        The Progressive Corporation (Domestic State: OH)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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                                                                 THE PROGRESSIVE CORPORATION
                                                                 c/o TRICIA GRIFFITH, PRESIDENT
                                                                 4400 EASTON COMMONS WAY•Ste 125
                                                                 COLUMBUS, OH 43219



                                                                                 2020 — 75641 CR 333 1
            Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 6 of 17




                                           CAUSE NO.     202075641


                                           RECEIPT NO.     903869                  75.00         CTM
                                                  **********
                                                                                   TR # 73815337

PLAINTIFF: HENRY, DANISHA                                                In The   333rd
           VS                                                            Judicial District Court
DEFENDANT: THE PROGRESSIVE CORPORATION (AKA PROGRESSIVE GROUP            of Harris County, Texas
OF INSURANCE                                                             333RD DISTRICT COURT
                                                                         Houston, TX
                                      CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris


TO: THE PROGRESSIVE CORPORATION (AKA PROGRESSIVE GROUP OF INSURANCE
    COMPANIES AKA PROGRESSIVE CASUALTY INS CO) (A NONRESIDENT CORPORATION)
    MAY BE SERVED BY SERVING THE PRESIDENT OF THE CORPORATION TRICIA GRIFFITH

    4400    EASTON COMMONS WAY SUITE 125     COLUMBUS     OH   43219

    Attached is a copy of PLAINTIFF'S ORIGINAL PETITION



This instrument was filed on the 23rd day of November, 2020, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:
      This citation was issued on 25th day of November, 2020, under my hand and
seal of said Court.




                                                               MARILYN BURGESS, District Clerk
Issued at request of:
                                                               Harris County, Texas
CHUKWURAH, NKECHINYELUMKA HILDA
5151 KATY FREEWAY, SUITE 306                                   201 Caroline, Houston, Texas 77002
                                                               (P.O. Box 4651, Houston, Texas 77210)
HOUSTON, TX 77007
Tel: (832) 526-6500
Bar No.: 24045657                                         Generated By: JACKSON, MONICA    I8V//11634431


                                     CLERK'S RETURN BY MAILING

Came to hand the         day of                                          , and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy   of   this    citation    together    with   an   attached   copy   of
 PLAINTIFF'S ORIGINAL PETITION
to the following addressee at address:



                                                ADDRESS

                                                Service was executed in accordance with Rule 106
(a)ADDRESSEE                                         (2) TRCP, upon the Defendant as evidenced by the.
                                                      return receipt incorporated herein and attached
                                                      hereto at


                                                on        day of
                                                by U.S. Postal delivery to


                                                This citation was not executed for the following
                                                reason:


                                                MARILYN BURGESS, District Clerk
                                                Harris County, TEXAS

                                                By                                           , Deputy




                                                            *73815337*
                                                         Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 7 of 17
                                                                                                                                                      11/23/2020 11:27 PM
                                                                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                                                                   Envelope No. 48369204
                                                                             2020-75641 / Court: 333                                                    By: Monica Jackson
                                                                                                                                               Filed: 11/23/2020 11:27 PM

                                                                                 NO.

                                                    DANISHA HENRY                                                   IN THE DISTRICT COURT
                                                    Plaintiff,

                                                    V.
                                                                                                                           JUDICIAL DISTRICT
                                                    THE PROGRESSIVE CORPORATION
                                                    AKA PROGRESSIVE GROUP OF
                                                    INSURANCE COMPANIES AKA
                                                    PROGRESSIVE CASUALTY INS. CO
                                                    AKA PROGRESSIVE CASUALTY INS.
                                                    CO.
                                                    Defendant.                                                   OF HARRIS COUNTY,TEXAS


                                                                               PLAINTIFF'S ORIGINAL PETITION

                                                    TO THE HONORABLE JUDGE OF SAID COURT:

                                                            NOW COMES Danisha Henry, hereinafter called Plaintiff, complaining of and about

                                                    THE PROGRESSIVE CORPORATION AKA PROGRESSIVE GROUP OF INSURANCE

                                                    COMPANIES       AKA PROGRESSIVE CASUALTY INS. CO                       AKA PROGRESSIVE

                                                    CASUALTY INS. CO, hereinafter called Defendant, and for cause of action shows unto the

                                                    Court the following:

                                                                             DISCOVERY CONTROL PLAN LEVEL

                                                            1.    Plaintiff intends that discovery be conducted under Discovery Level 2.

                                                                                      PARTIES AND SERVICE
Certified Document Number: 93229117 - Page 1 of 6




                                                            2.    Plaintiff, Danisha Henry, is an Individual whose address is 23223 First Park

                                                    Drive, Katy, Texas 77449. The last three numbers of Danisha Henry's driver's license number

                                                    are 260. The last three numbers of Danisha Henry's social security number are 538.

                                                            3.    Defendant THE PROGRESSIVE CORPORATION AKA PROGRESSIVE

                                                    GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY INS. CO, a


                                                    1 PLAINTIFF'S ORIGINAL PETITION
                                                       Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 8 of 17




                                                    Nonresident Corporation, may be served pursuant to sections 5.201 and 5.255 of the Texas

                                                    Business Organizations Code by serving the President of the corporation, TRICIA GRIFFITH, at

                                                    4400 EASTON COMMONS WAY, SUITE 125, COLUMBUS OH 43219. Service of said

                                                    Defendant as described above can be effected by certified mail, return receipt requested.

                                                                                      JURISDICTION AND VENUE

                                                           4.      The subject matter in controversy is within the jurisdictional limits of this court.

                                                           5.      Plaintiff seeks:

                                                                   a.      monetary relief over $100,000 but not more than $250,000.

                                                           6.      This    court      has   jurisdiction   over   Defendant    THE     PROGRESSIVE

                                                    CORPORATION AKA PROGRESSIVE GROUP OF INSURANCE COMPANIES AKA

                                                    PROGRESSIVE CASUALTY INS. CO, because said Defendant purposefully availed itself of

                                                    the privilege of conducting activities in the state of Texas and established minimum contacts

                                                    sufficient to confer jurisdiction over said Defendant, and the assumption of jurisdiction over

                                                    THE PROGRESSIVE CORPORATION AKA PROGRESSIVE GROUP OF INSURANCE

                                                    COMPANIES AKA PROGRESSIVE CASUALTY INS. CO will not offend traditional notions

                                                    of fair play and substantial justice and is consistent with the constitutional requirements of due

                                                    process.

                                                           7.      Plaintiff would show that Defendant THE PROGRESSIVE CORPORATION
Certified Document Number: 93229117 - Page 2 of 6




                                                    AKA PROGRESSIVE GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE

                                                    CASUALTY INS. CO had continuous and systematic contacts with the state of Texas sufficient

                                                    to establish general jurisdiction over said Defendant.

                                                           8.      Plaintiff would also show that the cause of action arose from or relates to the

                                                    contacts of Defendant THE PROGRESSIVE CORPORATION AKA PROGRESSIVE GROUP


                                                    2 PLAINTIFF'S ORIGINAL PETITION
   Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 9 of 17




OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY INS. CO to the state of

Texas, thereby conferring specific jurisdiction with respect to said Defendant.

        9.      Furthermore, Plaintiff would show that Defendant THE PROGRESSIVE

CORPORATION AKA PROGRESSIVE GROUP OF INSURANCE COMPANIES AKA

PROGRESSIVE CASUALTY INS. CO engaged in activities constituting business in the state of

Texas as provided by Section 17.042 of the Texas Civil Practice and Remedies Code, in that said

Defendant contracted with a Texas resident and performance of the agreement in whole or in part

thereof was to occur in Texas, committed a tort in whole or in part in Texas, and recruits or has

recruited Texas residents for employment inside or outside this state.

        10.     In    addition, Defendant     THE PROGRESSIVE            CORPORATION       AKA

PROGRESSIVE GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY

INS. CO employs Texas residents, specifically, Defendant employed Plaintiff, Danisha Henry.

        1 1.     Venue in Harris County is proper in this cause.

                                      NATURE OF ACTION

        12.     This is an action under Chapter 21 of the Texas Labor Code, Section 21.001 et.

seq. Texas Labor Code, as amended, to correct unlawful employment practices on the basis of

disability.

                                  CONDITIONS PRECEDENT

        13.      All conditions precedent to jurisdiction have occurred or been complied with: a

charge of discrimination was filed with the Equal Employment Opportunity Commission within

three-hundred days of the acts complained of herein and Plaintiffs Complaint is filed within

ninety days of Plaintiffs receipt of the Equal Employment Opportunity Commission's issuance

of a right to sue letter.


3 PLAINTIFF'S ORIGINAL PETITION
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                                                                                                FACTS

                                                            14.    Plaintiff is a disabled veteran who served in the United States Air Force from

                                                    2005 to 2009 and achieved the rank of Senior Airman E-4 at her honorable discharge. In 2017,

                                                    Ms. Henry suffered a brain aneurysm as a result of an injury from her days in the military. The

                                                    aneurysm would her leave her with some neurological impairment.

                                                            15.    Ms. Henry began her employment with Defendant in 2015 as a Claims Generalist.

                                                    She sought and received an accommodation for her disability in 2016. She excelled in her role.

                                                    She has no history of discipline.

                                                            16.    On or about August of 2019, she was wrongfully accused of violating

                                                    Defendant's corporate card policy. During Defendant's investigation by its human resources

                                                    personnel, she was denied the use of her already approved disability accommodation, a computer

                                                    that assisted her with language, receipt oflanguage and her ongoing impairment..

                                                            1 7.   In 2020, Ms. Henry was declared 100% impaired by the United States Veterans

                                                    Administration. She remains unemployed.

                                                                                  DISABILITY DISCRIMINATION

                                                            18.    Defendant, THE PROGRESSIVE CORPORATION AKA PROGRESSIVE

                                                    GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY INS. CO,

                                                    intentionally engaged in unlawful employment practices involving Plaintiff because of her
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                                                    disability.

                                                            19.    Defendant, THE PROGRESSIVE CORPORATION AKA PROGRESSIVE

                                                    GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY INS. CO,

                                                    intentionally discriminated against Plaintiff in connection with the compensation, terms,

                                                    conditions and privileges of employment or limited, segregated or classified Plaintiff in a manner


                                                    4 PLAINTIFF'S ORIGINAL PETITION
                                                      Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 11 of 17




                                                    that would deprive or tend to deprive her of any employment opportunity or adversely affect her

                                                    status because ofPlaintiffs disability in violation of the Texas Labor Code.

                                                           20.     Defendant, THE PROGRESSIVE CORPORATION AKA PROGRESSIVE

                                                    GROUP OF INSURANCE COMPANIES AKA PROGRESSIVE CASUALTY INS. CO,

                                                    intentionally classified Plaintiff in a manner that deprived her of an equal employment

                                                    opportunity that was provided to other non-disabled employees similarly situated in violation of

                                                    the Texas Labor Code.

                                                           21.     At all times material hereto, Plaintiff was able to perform the essential functions

                                                    of her position with accommodation. Plaintiff has a disability, has a record of a disability and is

                                                    regarding as having a disability which substantially limits at least one major life activity.

                                                    Plaintiff was discriminated against on the basis of her disability, record of a disability and

                                                    perception of having a disability.

                                                                                          SPECIFIC RELIEF

                                                           21.     Plaintiff seeks the following specific relief which arises out of the actions and/or

                                                    omissions of Defendant described hereinabove:

                                                                   a.     Promote Plaintiff to the position and pay grade to which Plaintiff should
                                                                          have been promoted but for the unlawful employment actions of
                                                                          Defendant;

                                                                   b.      Rehire Plaintiff;
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                                                                   c.     Reinstate Plaintiff to the position and pay grade which Plaintiff held but
                                                                          for the unlawful employment actions of Defendant; and

                                                                                                PRAYER

                                                           WHEREFORE, PREMISES CONSIDERED, Plaintiff, Danisha Henry, respectfully

                                                    prays that the Defendant be cited to appear and answer herein, and that upon a final hearing of

                                                    the cause, judgment be entered for the Plaintiff against Defendant for damages in an amount

                                                    5 PLAINTIFFS ORIGINAL PETITION
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                                                    within the jurisdictional limits of the Court; together with pre-judgment interest at the maximum

                                                    rate allowed by law; post-judgment interest at the legal rate, costs of court; and such other and

                                                    further relief to which the Plaintiff may be entitled at law or in equity.



                                                                                           Respectfully submitted,

                                                                                           NLC LAW GROUP,PLLC



                                                                                           By:
                                                                                           Lucy Nkechinyelumka "Kechi" Chukwurah
                                                                                           Texas Bar No. 24045657
                                                                                           Durham Center
                                                                                           5151 Katy Freeway, Suite 306
                                                                                           Houston, Texas 77007
                                                                                           Local:         832.917.6008
                                                                                           Facsimile:     832.917.6010
                                                                                              v   Iclawuoup.com
                                                                                           Attorney for Danisha Henry



                                                                        PLAINTIFF HEREBY DEMANDS TRIAL BY JURY
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                                                    6 PLAINTIFF'S ORIGINAL PETITION
                Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 13 of 17
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     County:Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this November 25_ 2020


     Certified Document Number:                    93229117




     Marilyn Burgess, DISTRICT CLERK
     HARRIS couNTY,,TEXAS




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please e-mail support@hcdistrictclerk.com
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              Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 15 of 17




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this December 30, 2020


     Certified Document Number:        93392963 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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                                                    Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 16 of 17
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                                                       • Complete Items 1, 2, and 3.                             A. Signature
                                                       • Print your name and address on the reverse                                                                O Agent
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                                                          so that we can return the card to you.
                                                       • Attach this card to the back of the mailpiece,          B. Rec           y =tin e.cl Name)          C. Date of Delivery
                                                          or on the front if space permits.                                             D. Kell,
                                                       1. Article Addressed to:                                  D. Is delivery address different from item 1? 0 Yes

                                                        THE PROGRESSIVE CORPORATION
                                                        c/o TRICIA GRIFFITH, PRESIDENT
                                                                                                                    If YES, enter delivery address below:
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                                                        4400 EASTON COMMONS WAY Ste 125
                                                        COLUMBUS, OH 43219



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              Case 4:20-cv-04392 Document 1-1 Filed on 12/31/20 in TXSD Page 17 of 17




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this December 30, 2020


     Certified Document Number:        93564886 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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